Case 1:23-cv-00809-RDA-WEF Document 57 Filed 12/15/23 Page 1 of 1 PageID# 930



                                  In the United States District Court             _.
                                  for the Eastern District of Virginia             !
                                           Alexandria Division


Plaintiffs Name
                                                                         suEc i'iPios
V.                                      Civil Action No. (Enter CivilAction Number)

Defendant's Name                                                         C\J^ 0^ ^
                "Sl-V                  .         NOTICE

       PLEASE TAKE NOTICE that on Friday (enter datefor hearing)           \y -v-u ISl^
                                                                                      ^at
10:00 a.m., or as soon thereafter as the undersigned may be heard, the plaintiff(s) will present to the

Court the Motion (enter motion type)




                                                 (Sighq^re)


                                                 (Printed Name)
                                                  Address
                                                  Telephone Number
